EXHIBIT I
                        County of Fairfax, Virginia
                        To protect and enrich the quality of life for the people, neighborhoods, and diverse communities of Fairfax County




Electoral Board                                          September 16, 2024
Hon. Katherine K. Hanley
Chairman

Jeffrey K. Shapiro            Mr. Steve T. Descano
Vice Chairman
                              Fairfax County Commonwealth’s Attorney
Amb. (ret.)                   4110 Chain Bridge Road
Christopher P. Henzel         Suite 114
Secretary
                              Fairfax, VA 22030

Eric L. Spicer                Mr. Jason Miyares
General Registrar/
Director of Elections
                              Attorney General, Commonwealth of Virginia
                              202 North Ninth Street
                              Richmond, VA 23219

                              Dear Messrs. Descano and Miyares,

                              I am writing to refer the attached list of individuals to you for possible unlawful
                              elections conduct in accordance with Va. Code § 24.2-1019. These individuals
                              were removed from the voter rolls after being identified by the Virginia
                              Department of Elections (ELECT) as non-citizens, in accordance with the
                              procedures of Va. Code § 24.2-427. It appears that the individuals on this list
                              may have violated Virginia elections law.

                              Please let me know if you have any questions or if you need any additional
                              information concerning this referral.

                                                                            Sincerely,



                                                                            Eric Spicer
                                                                            General Registrar/Director of Elections




       Voter Services                     Election Administration                                     Fairfax County Office of Elections
       Phone: 703-222-0776                Phone: 703-324-4735                                         12000 Government Center Parkway
       Fax: 703-324-2205                  Fax: 703-324-4706                                                                    Suite 323
       TTY: 711 (Virginia Relay)          TTY: 711 (Virginia Relay)                                              Fairfax, Virginia 22035
       Email: voting@fairfaxcounty.gov    Email: elect@fairfaxcounty.gov                                 www.fairfaxcounty.gov/elections
               Fairfax County Office of Elections – September 16, 2024
     Policy for Referring Individuals who were Removed from the Voter Rolls


Background:
As required by Va. Code § 24.2-410.1, the DMV regularly provides the Virginia Department of
Elections (ELECT) with lists of individuals who indicated a non-citizen status while completing
transactions at the DMV. ELECT uses this information in addition to other sources including the
Systematic Alien Verification for Entitlements Program (SAVE) to identify possible non-citizens
who may have purposefully or accidentally registered to vote. Voters are given the opportunity
to confirm their citizenship in case a mistake was made. According to data from ELECT, between
January 2022 and July 2024, 6,303 individuals in Virginia had their voter registrations cancelled
based on this information. This includes 985 individuals who were removed in Fairfax County.
ELECT regularly provides the names of individuals that they have identified as non-citizens to
General Registrars through the non-citizen hopper in VERIS. General Registrars are responsible
for printing and mailing Affirmation of Citizenship notices to these individuals. Voters whose
citizenship has been challenged have 14 days from the date the notice is generated to sign and
return the notice to the General Registrars. This includes the time that it takes to mail the
notice to the voter, for the voter to complete the notice, then for it to transit the USPS system
back to the General Registrar. As required by Va. Code § 24.2-427, any voter who fails to return
the signed notice within 14 days is automatically removed from the voter rolls.
Under Va. Code § 24.2-1019, General Registrars have the authority to report unlawful elections
conduct to the Commonwealth’s Attorney. Making this referral does not require “evidence,”
but rather a good faith conclusion that unlawful conduct may have occurred. It is not unusual
for individuals whose voter registration in Fairfax County was cancelled to later re-register and
through the application affirm their citizenship.

It is possible that some voters who do not respond or re-register were not citizens when they
were on the voter rolls and that they voted unlawfully. However, the General Registrar does
not have the discretion to share voting history information with outside parties including the
Commonwealth’s Attorney and the Attorney General. Per ELECT guidance, only ELECT has the
authority to share voting history information with outside parties. GREB Handbook, § 9.1.2.

Policy:
The General Registrar shall refer all individuals who were removed from the voter rolls
pursuant to Va. Code § 24.2-427(C), after being identified by ELECT as non-citizens, to the
Commonwealth’s Attorney and the Attorney General to determine if they have violated Virginia
elections law.


Adopted by Electoral Board - 091624
